                 Exhibit A




Case 1:20-cv-00115-NCT-JEP Document 1-1 Filed 02/05/20 Page 1 of 12
A lb.


;_:_t CT Corporation                                                              Service of Process
                                                                                  Transmittal
                                                                                  01/06/2020
                                                                                  CT Log Number 536921186
        TO:      DONNA DORBUCK
                 United Technologies Corporation
                 10 FARM SPRINGS RD
                 FARMINGTON, CT 06032-2577


        RE:      Process Served in North Carolina

        FOR:     United Technologies NC Corporation (Assumed Name) (Domestic State: DE)
                 United Technologies Corporation (True Name)




        ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

        TITLE OF ACTION:                  STEVE ROBINSON, Pltf. vs. UNITED TECHNNOLOGIES CORPORATION and UNITED
                                          TECHNOLOGIES NC CORPORATION, ETC., DFTS.
        DOCUMENT(S) SERVED:               Summons, Return, Complaint, Attachment(s)
        COURT/AGENCY:                     Forsyth County Superior Court, NC
                                          Case # 2019CV57457
        NATURE OF ACTION:                 Complaint for Breach of Implied Contract
        ON WHOM PROCESS WAS SERVED:       CT Corporation System, Raleigh, NC
        DATE AND HOUR OF SERVICE:         By Certified Mail on 01/06/2020 postmarked on 12/30/2019
        JURISDICTION SERVED:              North Carolina
        APPEARANCE OR ANSWER DUE:         Within 30 days after you have been served
        ATTORNEY(S) / SENDER(S):          Ellis B. Drew, III
                                          Craige Jenkins Liipfert Et Walker LPP
                                          110 Oakwood Drive, Ste. 300
                                          Winston-Salem, NC 27103
                                          336-725-2900
        ACTION ITEMS:                     CT has retained the current log, Retain Date: 01/06/2020, Expected Purge Date:
                                          02/05/2020

                                          Image SOP

                                          Email Notification, Cathy Bentley cathy.bentley@utc.com

                                          Email Notification, DONNA DORBUCK donna.dorbuck@utc.com

        SIGNED:                           CT Corporation System
        ADDRESS:                          155 Federal St Ste 700
                                          Boston, MA 02110-1727
        For Questions:                    800-448-5350
                                          MajorAccountTeam1@wolterskluwer.com




                                                                                  Page 1 of 1 / MS
                                                                                  Information displayed on this transmittal is for CT
                                                                                  Corporation's record keeping purposes only and is provided to
                                                                                  the recipient for quick reference. This information does not
                                                                                  constitute a legal opinion as to the nature of action, the
                                                                                  amount of damages, the answer date, or any information
                                                                                  contained in the documents themselves. Recipient is
                                                                                  responsible for interpreting said documents and for taking
                                                                                  appropriate action. Signatures on certified mail receipts
                                                                                  confirm receipt of package only, not contents.



          Case 1:20-cv-00115-NCT-JEP Document 1-1 Filed 02/05/20 Page 2 of 12
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                                                                   Oralge Jenkins Ltiptert & Walker up
                                                                               Attorneys at Law
                                                                        110 Oakwood Drive, Suite 300
                                                                          Winston-Salem, NC 27103




                                                            United Technologies NC Corporation (a/kJa
                                                        •, Collins Aerospace) by serving its registered
                                                           agent: CT Corporate Systems                  .
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                                                       • 160 Mine Lake Court, Ste. 200
                                                        .: Raleigh, NC 27615-6417
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 STATE OF NORTH CAROLINA                                                                                                             ict5//
                                                                                                                           2019 CVS .r

                      Forsyth                                                                           In The General Court Of Justice
                                                  County                                              • District M Superior Court Division
Name 0 f PlaInfiff
Steve Robinson
Address
                                                                                                       CIVIL SUMMONS
                                                                                    • ALIAS AND PLURIES SUMMONS (ASSESS FEE)
Cibs State, Zip


                                   VERSUS                                                                                         G.S. 1A-1, Rules 3 and 4
Name Of Defendant(a)                                                          Date Original Summons issued
United Technologies Corporation and United Technologies NC
Corporation (also known as Collins Aerospace)                                 Date(s) Subsequent Summons(es) Issued




 To Each Of The Defendant(s) Named Below:
Name And Address Of Defendant 1                                               Name And Address Of Defendant 2
United Technologies NC Corporation (a/k/a Collins Aerospace)
by serving its registered agent: CT Corporate Systems
160 Mine Lake Ct, Ste 200
 Raleigh                                       NC 27615-6417
                     IMPORTANT! You have been sued! These papers are legal documents, DO NOT throw these papers out!
                     You have to respond within 30 days. You may want to talk with a lawyer about your case as soon as


   A
                     possible, and, if needed, speak with someone who reads English and can translate these papers!
                     IIMPORTANTEI iSe ha entablado un proceso civil en su contra! Estos papeles son documentos legates.
                     1NO TIRE estos papelesl
                     Tiene que contestar a mas tardar en 30 dies. 'Puede querer consuftar con un abogado lo antes posible
                     acerca de su caso y, de ser necesario, hablar con alguien que lea ingles y que puede traducir estos
                     documentos!
 A Civil Action Has Been Commenced Against Youl
 You are notified to appear and answer the complaint of the plaintiff as follows:
 t Serve a copy of your written answer to the complaint upon the plaintiff or plaintiff's attorney within thirty (30) days after you have been
    served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiff's last known address, and
 2. File the original of the written answer with the Clerk of Superior Court of the county named above.
 If you fail to answer the complaint, the plaintiff will apply to the Cou for the relief demanded in the complaint
Name And Address Of Plainfirs Attorney fifrone. Address Of Plaindfl)            • fa       ued
 Ellis B. Drew, la
 Craige Jenkins Liipfert & Walker LPP
                                                                            1111 . , _ •       '     /CI          3:o5"
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 110 Oakwood Drive, Ste. 300                                                1( fr'i
                                                                                i /tit. •
 Winston-Salem, NC 27103 (336)725-2900                                           2 Deputy asc          IAssistant CSC        II Clerk Of Superior Court



                                                                               Date Of Endorsement                Tune
 NI ENDORSEMENT (ASSESS FEE)                                                                                                          0 AM 0 pm
    This Summons was originally issued on the date indicated                   Signature
    above and returned not served. At the request of the plaintiff,
    the time within which this Summons must be served is
    extended sixty (60) days.                                                       a Deputy CSC        II Assistant CSC     0 Clerk Of Superior Court


  NOTE TO PARTIES: Many counties have MANDATORY ARBITRATION programs in which most cases where the amount in controversy is $25,000 or
                   less are heard by an arbitrator before a trial. The parties will be notified if this case is assigned for mandatory arbitration, and, if
                   so, what procedure is to be followed.

                                                                           (Over)
   AOC-CV-100, Rev. 4/18
   © 2018 Administrative Office of the Courts


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                                                                                      RETURN OF SERVICE
                                                                            *
 I certify that this Summons and a copy of the complaint were received and served as follows:
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                                                                                           DEFENDANT i
Data Served                                        Time Served                                        Name Of Defendant
                                                                                    DAM     III PM

 Ei   By delivering to the defendant named above a copy of the summons and complaint.
 II By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
    person of suitable age and discretion then residing therein.
D As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
      below.
        Name And Address Of Person VIM Whom Copies Left (if corporation. give fide of person copies left with)



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                                                                                                      I'
 o     Other manner of service (specify)                                                               ... i'         I
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 0 Defendant WAS NOT served for the following reason:



                                                                                           DEFENDANT 2
Date Sawed                                         Time Served                                        Name Of Defendant
                                                                                    • AM   0 PM
 13    By delivering to the defendant named above a copy of the summons and complaint.
 • By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
   person of suitable age and discretion then residing therein.
 0 As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
   below.
         Name And Address Of Person With Wham Copses Left (if corporeffon, give title of person copies left with)




 El Other manner of service (specify)




 0 Defendant WAS NOT served for the following reason:                                                                                                   -




Sendce Fee Paid                                                                                       Signal= Of Deputy Sheriff Making Return
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"Dale Received                                                                                        Name Of Sheriff (type or print)


Date Of Return                                                         .                              County Of Sheriff

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  AOCICV-100, Side Two, Rev. 4118
  @2018 Administrative Office of the Courts




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NORTH CAROLINA                                   .f° IN:THTE- pvNERAL COURT OF JUSTICE
                                                          STTPERIOR COURT DIVISION
FORSYTH COUNTY                                                     19 CVS

STEVE ROBINSON,

                       Plaintiff,

        V.
                                                                     COMPLAINT
UNITED TECHNNOLOGIES                                        (JURY TRIAL DEMANDED)
CORPORATION and
UNITED TECHNOLOGIES NC
CORPORATION (a/k/a COLLINS
AEROSPACE),

                       Defendants.



       NOW COMES Plaintiff Steve Robinson, by and through counsel, complaining of

Defendant United Technologies Corporation and United Technologies NC Corporation (a/k/a

Collins Aerospace) alleges and says:

       1.      Plaintiff is an individual, not under any disability, and a citizen and resident of

Stokes County, North Carolina.

       2.      Upon information and belief, Defendant United Technologies Corporation is a

corporation existing under the laws of the State of Delaware, transacts business in North Carolina,

regularly solicits business in North Carolina, derives substantial revenue therefrom, and which has

a principal place of business located in Winston-Salem, Forsyth County, North Carolina.

       3.      Upon information and belief, Defendant United Technologies NC Corporation is

corporation duly existing under the laws of the State of Delaware, with a principal place of business

in Winston-Salem, Forsyth County, North Carolina.




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         4.    Upon information and belief, Defendant United Technologies Corporation is also

known as Collins Aerospace.

         5.    Upon information and belief, Defendant United Technologies NC Corporation is

also knowns as Collins Aerospace.

         6.     Upon information and belief, Rockwell Collins, Inc. acquired B/E Aerospace, Inc.

in or about 2016.

         7.     In or about 2018, United Technologies Corporation acquired Rockwell Collins,

formerly known as B/E Aerospace, Inc., and the combined companies are now known as Collins

Aerospace.

         8.     Upon information and belief, and at all times relevant hereto United Technologies

NC Corporation, also known as Collins Aerospace and formerly known as.B/E Aerospace, Inc. is

a wholly owned subsidiary of United Technologies Corporation.

         9.     United Technologies Corporation and United Technologies NC Corporation

(formerly known as B/E Aerospace and now known as Collins Aerospace) and hereinafter

collectively referred to as "Collins Aerospace."

         10.    Mr. Robinson has worked at B/E Aerospace and its successor companies for 45

years.

         11.    As part of the acquisition, Collins Aerospace offered voluntary buyouts to certain

employees throughout the company. Collins Aerospace issued a press release stating that:

         "In general, the employees who are eligible to participate in the (Voluntary
         Separation Program) include full-time or part-time employees who are based in the
         United States and Oakville, Canada. They must be salary exempt or non-exempt
         and non-executive employees and must be classified as indirect labor."

         12.    Steve Robinson remained an employee throughout the various acquisitions

and mergers, until his retirement from Collins Aerospace in October 2019.




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       13.    Mr. Robinson was 75 years old when the severance program was put into

effect. When he learned of the program, he was interested in it and it sounded like a good

opportunity. When he began asking fellow employees about the program, many told him

the offer had already been made to eligible employees and several had accepted the offer.

       14.     Mr. Robinson was puzzled as to why he did not receive the offer and was

excluded from the Voluntary Separation Program. Mr. Robinson spent weeks going to

Human Resources and various supervisors trying to get an answer as to why he was

excluded from the program. Finally, he was told that he was a "direct employee" and that

direct employees were not eligible.

       15.     Mr. Robinson was a direct employee. For years he has worked on particular

orders. His hours are charged against a particular charge number based on the customer

order. However, he never received any special benefits, and was not treated different from

any other employee or other engineer at Collins Aerospace.

        16.    Because Mr. Robinson is 75 years old and nearing retirement, Collins

Aerospace used the direct labor/indirect labor as a pretense to exclude him from the

Voluntary Separation Program.

        17.     Numerous other younger employees received the severance package.

        18.    Collins Aerospace figured that he was going to retire anyway, and therefore,

could save themselves some money by finding a pretense to exclude him from the

Voluntary Separation Program.

        19.    During his four dozen plus years with B/E Aerospace and its successor

companies, Mx. Robinson rarely missed work and was an exemplary employee. Despite




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his long history of exemplary performance with the company, the company excluded him

from the Voluntary Separation Program.

                                   FIRST CLAIM FOR RELIEF
                                   (Negligent Misrepresentation)

        20.     The allegations of paragraphs 1 through 19 above are realleged and incorporated

herein by reference as if fully set forth.

        21.     Collins Aerospace represented to employees that it was offering a Voluntary

Separation Program. Mr. Robinson assumed the Program included Mr. Robinson, yet when he

inquired about the severance package, he was told he was excluded.

        22.     Collins Aerospace owed Mr. Robinson, a longtime employee of the company's

predecessor, a duty of care to not negligently misrepresent the eligibility or requirements for the

Voluntary Separation Program.

        23.     Mr. Robinson made reasonable inquiry regarding the eligibility of the Voluntary

Separation Program, making multiple inquiries of the human resources department for Collins

Aerospace.

        24.     Mr. Robinson was denied the opportunity to discover the true facts of the eligibility

requirements for the Voluntary Separation Program.

        25.     Mr. Robinson justifiably relied on these representations of Collins Aerospace to his

detriment.

        26.     Collins Aerospace presented and advertised the Voluntary Separation Program

without reasonable care.

        27.     As a result of the negligent misrepresentations of Collins Aerospace, Mr. Robinson

has been damaged in an amount in excess of $100,000.00 and is entitled to recover these damages

from Collins Aerospace.

                                                  4


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                                 SECOND CLAIM FOR RELIEF
                                  (Breach of Implied Contract)

        28.     The allegations of paragraphs 1 through 27 above are realleged and incorporated

herein by reference as if fully set forth.

        29.     Collins Aerospace offered a Voluntary Separation Program to employees. The

company advertised this program internally and within the media. It was the intent of Collins

Aerospace that in exchange for Mr. Robinson's work for the company, and in connection with the

acquisition by the Defendant, Collins Aerospace would provide Mr. Robinson with participation

in the Voluntary Separation Program.

        30.      Mr. Robinson accepted Collins Aerospace's offer to participate in the Voluntary

Separation Program.

        31.     The parties did not document the terms of this contract in the form of an express

contract, but rather there was an agreement in fact between the parties as evidenced by their

conduct.

        32.     Mr. Robinson adhered to the terms of the implied contract and continued to work

as required up until his retirement.

        33.     Collins Aerospace breached the implied contract by failing to pay the Voluntary

Separation Program to Mr. Robinson.

        34.     As a result of Collins Aerospace's breach of implied contract, Mr. Robinson has

been damaged in an amount in excess of $100,000.00.

                                   THIRD CLAIM FOR RELIEF
                                       (Unjust Enrichment)

        35.     The allegations of paragraphs 1 through 34 above are realleged and incorporated

herein by reference as if fully set forth.




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       36.     In the event the Court does not find that the parties entered into a valid implied

contract, which Mr. Robinson denies, Mr. Robinson asserts in the alternative to his claim for

breach of implied contract, one for unjust enrichment.

       37.     Mr. Robinson conferred a benefit upon Collins Aerospace by working for the

company throughout the transition between the company and its predecessors and in the form of

his continued work for Collins Aerospace. Collins Aerospace benefited from Mr. Robinson's

long-term employment and from his continued work.

       38.     Mr: Robinson's continued work for Collins Aerospace was not done gratuitously,

rather Mr. Robinson understood and believed that he would be compensated through the Voluntary

Separation Program.

       39.     Collins Aerospace accepted the benefit of Mr. Robinson's continued and faithful

work and did so with the knowledge that Mr. Robinson desired and expected to participate in the

Voluntary Separation Program.

       40.     Collins Aerospace has been unjustly enriched by failing to compensate Mr.

Robinson through the Voluntary Separation Program. As a result, Mr. Robinson has been damaged

in an amount in excess of $100,000.00.

        WHEREFORE, Plaintiff prays:

        1.     That the Plaintiff recover damages from Collins Aerospace in an amount in excess

of $100,000.00 for the company's negligent misrepresentations;

        2.     That the Plaintiff recover damages from Collins Aerospace in an amount in excess

of $100,000.00 for breach of implied contract;

        3.     That the Plaintiff recover his costs incurred in this case;

        4.     For a trial by jury; and



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  5.     For such other and further relief as the Court deems just and proper.

  This the   fer day of December, 2019.



                                       CRAIGE JENKINS LlIPFERT & WALKER LLP
                                       Attorneys or Plaintiff

                                                                    (CW.
                                       Ellis B. Drew, III
                                       N. C. State Bar No. 12934
                                       BoD@craigejenkins.com
                                       110 Oakwood Drive, Suite 300
                                       Winston-Salem, NC 27103
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